            Case 1:21-cr-00255-RC Document 33 Filed 07/20/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
       v.                                          :       Criminal Action No.: 21-255 (RC)
                                                   :
EMMA CORONEL AISPURO,                              :
                                                   :
       Defendant.                                  :

                            SENTENCING SCHEDULING ORDER

       It is hereby ORDERED that the following schedule shall govern the sentencing

proceedings in this case:

            1. sentencing in this matter is set for September 15, 2021, at 2:00 PM in Courtroom

               23;

            2. the probation officer assigned to this case shall disclose the draft pre-sentence

               investigation report to the parties no later than August 11, 2021;

            3. counsel shall submit objections (if any) to the draft pre-sentence investigation

               report to the probation officer no later than August 25, 2021;

            4. the probation officer shall disclose to the parties and file with the Court the final

               pre-sentence investigation report no later than September 1, 2021; and

            5. any party wishing to submit a memorandum in aid of sentencing must do so no

               later than September 7, 2021, with all responses (if any) due by September 13,

               2021, and all such memoranda and responses thereto must cite to supporting legal

               authority.

       SO ORDERED.


Dated: July 20, 2021                                                RUDOLPH CONTRERAS
                                                                    United States District Judge
